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                                     UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                           Case No.: 1:21-cr-00488 CRC



                              v.                    NOTICE OF FILING

NOAH S. BACON

                                   Defendant.



                        COMES NOW, Noah S. Bacon, through counsel, to file with the court
the attached character letter from Susan Bacon Hodge submitted for the court’s
consideration at sentencing. Sentencing is currently scheduled for July 27, 2023.
Dated: May 19, 2023



                                                           Joseph R. Digitally       signed by
                                                                            Joseph R. Conte

                                                           Conte            Date: 2023.05.19
                                                            ___________________________
                                                                            09:23:46 -04'00'
                                                            Joseph R. Conte, Bar #366827
                                                            Counsel for Noah S. Bacon
                                                            Law Office of J.R. Conte
                                                            8251 NW 15th Ct.
                                                            Coral Springs, FL 33071
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United States v. Noah S. Bacon                                     Joseph R. Conte
Case No. 1:21-cr-00488 CRC                                         Law Office of J.R. Conte
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